Filed 09/05/19                                                                                    Case 19-21640                                     Doc 105




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                                                                 Peter Cianchetta, SBN: 220971
                                                            2    CIANCHETTA & ASSOCIATES
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                                                                 Attorney for Deborah Leigh Miller-Zuranich
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                                                            7                        UNITED STATES BANKRUPTCY COURT
                                                            8
                                                                                       EASTERN DISTRICT OF CALIFORNIA
                                                            9
                                                                     In re:                                      Case No. 2019-21640
                                                            10
 CIANCHETTA & ASSOCIATES




                                                            11       Debora Leigh Miller-Zuranich                DCN: PLC-06
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                 ,Debtors          Hearing Date: NONE
                               Elk Grove, CA 95624




                                                            13                                                   Hearing Time: NONE
                                                                                                                 Hon. Christopher D. Jaime
                                                            14                                                   Courtroom 32 - Dept B
                                                            15
                                                                 EXHIBIT TO APPLICATION FOR ORDER SHORTENING TIME FOR HEARING ON
                                                            16
                                                                              MOTION TO EMPLOY REAL ESTATE SALESPERSON STANLEY
                                                            17
                                                                                                          CORNELIUS
                                                            18

                                                            19          EXHIBIT A - Motion to Employ Real Estate Salesperson Stanley Cornelius as
                                                                 Realtors for Estate Broker for Debtor in Possession
                                                            20
                                                                 EXHIBIT B - Proposed Order Shortening Time for Hearing
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 CIANCHETTA & ASSOCIATES




                                                            11        Debora Leigh Miller-Zuranich                 DCN: PLC-06
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                     ,Debtors        Hearing Date: September 10, 2019
                               Elk Grove, CA 95624




                                                            13                                                     Hearing Time: 2:00 PM
                                                                                                                   Hon. Christopher D. Jaime
                                                            14                                                     Courtroom 32 - Dept B
                                                            15
                                                                      MOTION TO EMPLOY REAL ESTATE SALESPERSON STANLEY CORNELIUS
                                                            16
                                                                          Peter Cianchetta, the attorney for Debora Leigh Miller-Zuranich, the Debtor, hereby
                                                            17
                                                                 moves this Court for an Order Employing Stanley Cornelius as Real Estate Salesperson to sell
                                                            18

                                                            19   the Debtors’ residence. In support of this Motion, the Debtor respectfully represents:

                                                            20   1.       This case was commenced by the filing of a voluntary petition on behalf of the Debtor

                                                            21   on March 18, 2019. The case was converted to Chapter 11 on July 3, 2019.
                                                            22   2.       The Debtors have proposed a plan which requires the sale of their home.
                                                            23
                                                                 3.       In order to complete the proposed plan, Debtors necessarily must employ a Real Estate
                                                            24
                                                                 Salesperson to market and sell the home.
                                                            25
                                                                 4.       Debtors are informed and believe and therefore alleges the granting of this application
                                                            26

                                                            27   is in the best interest of this estate and, accordingly, the Court should approve said employment

                                                            28   as provided in 11 U.S.C. § 327 (a).

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                                                                 5.      The Debtors seek an order affirming the employment of Stanley Cornelius on the terms
                                                            1

                                                            2    set forth in Exhibit B.

                                                            3    6.      Stanley Cornelius is a Licensed Real Estate Salesperson, a copy of her licensing

                                                            4    information is available online from the Bureau of Real Estate is attached as Exhibit A.
                                                            5    7.      The proposed terms of the sale will not be determined until a real estate purchase
                                                            6
                                                                 contract has been presented. However, we have attached a listing agreement (Exhibit B) which
                                                            7
                                                                 sets out the terms and conditions related to the Proposed Realtor and executed by the Debtor
                                                            8
                                                                 and Proposed Realtor which lays out the terms of employment.
                                                            9

                                                            10   8.      The proposed listing price is $849,999.00.
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                                                            11   9.      The proposed compensation is 5% of the sale split equally between the buyers realtor
                           8788 Elk Grove Blvd., Suite 2A




                                                            12   and the sellers realtor.
                               Elk Grove, CA 95624




                                                            13   Respectfully submitted on August 30, 2019.
                                                            14
                                                                                                              CIANCHETTA & ASSOCIATES
                                                            15

                                                            16                                                /s/ Peter Cianchetta
                                                                                                              Peter Cianchetta, Attorney for
                                                            17                                                Debora Leigh Miller-Zuranich
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                                                            7                          UNITED STATES BANKRUPTCY COURT
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                                                                                        EASTERN DISTRICT OF CALIFORNIA
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                                                            11       Debora Leigh Miller-Zuranich                 DCN: PLC-06
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                    ,Debtors        Hearing Date: NONE
                               Elk Grove, CA 95624




                                                            13                                                    Hearing Time: NONE
                                                                                                                  Hon. Christopher D. Jaime
                                                            14                                                    Courtroom 32 - Dept B
                                                            15
                                                                                     ORDER SHORTENING TIME FOR HEARING ON
                                                            16
                                                                                     MOTION TO EMPLOY REAL ESTATE BROKER
                                                            17

                                                            18   The Application for Order Shortening Time on Motion to Employ Salesperson Stanley

                                                            19   Cornelius , for Debtor in Possession was brought before this Court for its consideration.
                                                            20

                                                            21
                                                                 The Court having reviewed said Application and the Declaration of Peter Cianchetta and having
                                                            22
                                                                 determined that good cause exists for granting the Application, now therefore,
                                                            23
                                                                 IT IS HEREBY ORDERED:
                                                            24
                                                                     1. The Application is granted.
                                                            25

                                                            26       2. The period of notice is reduced.

                                                            27       3. The hearing shall be set to take place in Sacramento, CA on September 10, 2019 at

                                                            28           10:00 am.

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                                                                  4. Debtors shall serve all parties on or before June 28, 2013, by first class mail, or email
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                                                            2         Pursuant to LBR 7005-1.

                                                            3    Dated:

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 CIANCHETTA & ASSOCIATES




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                           8788 Elk Grove Blvd., Suite 2A




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                               Elk Grove, CA 95624




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